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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


ALLERGAN SALES, LLC,                                           Case No. 2:11-CV-530-JRG
               Plaintiff,
                                                                      LEAD CASE
v.

LUPIN LTD., et al.,                                            Case No. 2:12-CV-175-JRG
                      Defendants.                              Case No. 2:12-CV-177-JRG

AND CONSOLIDATED CASES.                                        Case No. 2:12-CV-178-JRG



                                           ORDER

       Before the Court is Plaintiff Allergan Inc. (“Allergan”) and Defendants Apotex, Inc. and

Apotex Corp.’s (“Apotex”) Stipulation and Joint Motion to Dismiss with Prejudice. Such

motion is GRANTED.

       PURSUANT TO STIPULATION, IT IS HEREBY ORDERED that:

       (1)    Subject to the terms of the Confidential Settlement Agreement between Allergan

and Apotex, all claims and counterclaims here at issue between Allergan and Apotex, including

all claims presented by Allergan’s Complaints and all of Apotex’s counterclaims, shall be and

are dismissed with prejudice;

       (2)    Allergan and Apotex each shall bear their own costs and attorneys’ fees; and

       (3)    The Court shall retain exclusive jurisdiction over any dispute arising over the

Confidential Settlement Agreement and over the enforcement of any provision in the

Confidential Settlement Agreement.

        So Ordered and Signed on this


        Sep 28, 2013
